Case No. 1:25-cv-00425-STV    Document 30     filed 04/04/25   USDC Colorado     pg 1
                                      of 5




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLORADO


Civil Action No. __1:25-cv-00425 STV

TINA M. PETERS, Applicant,

            v.

MOSES "ANDRE" STANCIL in his official capacity as the Executive Director
of the Colorado Department of Corrections, and PHILIP J. WEISER, in his
official capacity as Attorney General of the State of Colorado, Respondents

__________________________________________________________________

      APPLICANT’S MOTION FOR WRIT OF HABEAS CORPUS AD
       TESTIFICANDUM TO APPEAR IN PERSON AT HEARING
                       APRIL 22, 2025


Tina M. Peters, through counsel, moves this court to issue a Writ of Habeas Corpus

Ad Testificandum directing the Respondents to produce the Applicant, who is in

Respondents’ custody, so that she may attend the hearing in this court on April 22,

2025, at 1:45 p.m.

      Certification: The undersigned conferred with all counsel concerning this

motion. The United States of America does not oppose this motion. Respondents

oppose this motion.

      In support of this Motion, Applicant shows the Court as follows:
Case No. 1:25-cv-00425-STV    Document 30      filed 04/04/25   USDC Colorado      pg 2
                                      of 5




         1. Effective April 3, 2025, Applicant is incarcerated at Denver Women’s

            Correctional Facility located at 3600 Havana St. Denver CO 80239,

            telephone (303) 371-4804. Because of Applicant’s proximity to the

            courthouse, transporting her to court is not burdensome.

         2. It is within the Court’s sound discretion whether to allow Applicant to

            attend in person. Smith v. Washington, 2024 U.S. Dist. LEXIS 31593.

            Ms. Peters’ presence is required to rebut factual assertions made by

            Respondents, as more fully described below. See United States v.

            Hayman, 342 U.S. 205 (1952), holding that factual issues in a §2255

            habeas proceeding could not be resolved without the presence of the

            prisoner. Applying the criteria of Ballard v. Spradley, 557 F.2d 476,

            480 (5th Cir. 1977) to this case, Ms. Peters’ presence will substantially

            affect resolution of the issue, there are no security risks in bringing her

            to court, and any cost is minimal because she is within nine miles of

            the courthouse.

         3. The purpose of the hearing on April 22, 2025, is to determine whether

            to grant Respondents’ Motion to Strike the Statement of Interest filed

            by the United States of America.




                                          2
Case No. 1:25-cv-00425-STV    Document 30      filed 04/04/25   USDC Colorado        pg 3
                                      of 5




         4. Respondents claim in their Reply that “Tina Peters was not prosecuted

             because of any political pressure.” (ECF 27 at 4).

         5. Respondents claim in their Motion to Strike that Mesa County District

             Attorney Dan Rubinstein “did no more than fulfill his public duty”

             when he prosecuted Ms. Peters. (ECF 17 at 5).

         6. Applicant’s attendance at the hearing April 22, 2025, is necessary to

             rebut the foregoing factual claims by Respondents. Ms. Peters can

             provide evidence that (1) she was prosecuted because of political

             pressure after she exposed illegal features of the voting system that

             had been leased by Dominion to Mesa County, and was wrongfully

             certified by the Secretary of State, and (2) District Attorney Dan

             Rubinstein prosecuted Ms. Peters on a false charge of contempt for

             the purpose of enhancing her sentence and denying her bond on

             appeal. The Colorado Court of Appeals reversed the contempt

             conviction, but Ms. Peters remains in prison.

      To summarize, Ms. Peters’ presence at the hearing is necessary to rebut

Respondents’ factual claims in their Motion to Strike. She is not a threat to public

safety, and Respondents can easily transport her to court. Ms. Peters respectfully



                                          3
Case No. 1:25-cv-00425-STV    Document 30     filed 04/04/25   USDC Colorado    pg 4
                                      of 5




requests that the Court order the Respondents to produce her in this Court on April

22, 2025, at 1:45 p.m.

      Respectfully Submitted April 4, 2025.

Patrick M. McSweeney                          s/ John Case
Robert J. Cynkar                              John Case
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                                         4
Case No. 1:25-cv-00425-STV     Document 30     filed 04/04/25   USDC Colorado        pg 5
                                       of 5




                         CERTIFICATE OF SERVICE

      I hereby certify that on April 4, 2025, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will cause an

electronic copy of same to be served on opposing counsel via the email addresses

that opposing counsel has registered with the Court’s ECF system.



                                                     s/ Linda Good




                                          5
